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                       UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS


Wesley Pabst, et al.

               Plaintiffs
                                                         No. 1:22-cv-01124
       v.

The Peoples Gas Light & Coke Co., et al.

               Defendants



                       DEFENDANTS’ MEMORANDUM IN SUPORT OF
                            MOTION TO STAGE DISCOVERY

       Defendants The Peoples Gas Light & Coke Co. (“Peoples Gas”), WEC Energy Group Inc.

(“WEC Energy”), and The Broydrick Group, LLC (“Broydrick”) respectfully submit this

memorandum in support of their request that this Court adopt a staged approach to discovery in

this matter, in the interests of efficiency and judicial economy.

                                         BACKGROUND

       This case arises from a December 2016 incident at a gas injection/withdrawal well at

Peoples Gas’s underground storage facility in Mahomet, Illinois, in which natural gas leaked from

the well into the local aquifer. This asserted class action is the fourth lawsuit filed against Peoples

Gas related to this incident.

       The first was a pending state enforcement action. Since 2017, Peoples Gas has worked

with the Illinois Attorney General’s Office, in coordination with the Illinois Environmental

Protection Agency, the Illinois Department of Resources, and the Illinois Department of Public

Health, to enter and execute two agreed interim orders in that action. People v. The Peoples Gas

Light and Coke Co., No. 2017-CH-218 (Champaign Cty., Ill.). As confirmed by those orders,
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Peoples Gas voluntarily agreed to, among other things, offer to install methane detection devices,

gas/water separator devices, and provided bottled water service to qualifying impacted households.

       The next two cases were private civil actions. In 2018, a group of 17 plaintiffs filed a civil

action in state court, raising many of the same claims asserted here—including negligence, private

nuisance, trespass, and contract claims, among others. Eisenmann v. The Peoples Gas Light and

Coke Co., 2018-L-108 (Champaign Cty., Ill.). A year later, an additional group of 21 plaintiffs

filed a nearly identical lawsuit. Stanhope v. The Peoples Gas Light and Coke Co., 2019-L-63

(Champaign Cty., Ill.). The plaintiffs in the Eisenmann and Stanhope suits are represented by one

of the same law firms representing the named Plaintiffs in this case, Spiros Law, P.C. See Dkt. 12

at 10. Those cases are now proceeding in discovery in Champaign County. To date, more than

22,000 pages of documents have been produced in that litigation and could readily be carried over

to this litigation, subject to entry of the Northern District of Illinois model Confidentiality Order.

       What is unusual about this lawsuit and not duplicative of the prior cases is its effort to

convert a dispute stemming from a natural gas leak in a single well—an alleged environmental

contamination claim—into a purported RICO lawsuit that stretches well beyond the bounds of

events and conduct that statute was ever contemplated to reach. To attempt to state such a claim,

Plaintiffs assert claims not only against Peoples Gas itself, but also against its indirect corporate

parent holding company (WEC Energy), and even a small, privately owned public relations firm

that was hired to assist with communications around this incident (Broydrick). Only the RICO

causes of action (Counts I and II) are pleaded against Broydrick. The RICO, negligence (Count

III), strict liability (Counts IV and V), nuisance (Count VI), and trespass (Count VII) counts are

asserted against WEC Energy because of its status as the indirect holding company parent of




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Peoples Gas, its subsidiary. All of the counts, including breach of contract (Count VIII) and

rescission (Count IX), are brought against Peoples Gas.

       On May 3, Defendants intend to move to dismiss the RICO causes of action against all

three defendants, all remaining claims against WEC Energy, and certain other claims against

Peoples Gas. While some of the common law claims against Peoples Gas will remain, Defendants

believe that there are extraordinarily strong threshold issues that will be presented by their Rule

12(b)(6) motion as to whether Plaintiffs’ RICO claims may proceed and whether a corporate parent

holding company may be held liable in tort merely by its status as an indirect parent. Moreover, if

the Court dismisses the RICO claims against Broydrick and WEC Energy, all bases of federal

jurisdiction – both RICO and CAFA – will be lost, unless the Court opts to continue to exercise

supplemental jurisdiction. Regardless, if the RICO claims are dismissed, this will substantially

narrow the scope of the parties, claims, and defenses at issue in this lawsuit at the outset, and the

issues to be presented at the class certification stage. Accordingly, Defendants propose that

discovery should be sequenced and tailored to focus first on the issues at the heart of Plaintiffs’

claims: the December 2016 incident at the gas storage facility in Mahomet, Illinois, and Peoples

Gas’s response, the named Plaintiffs’ individual circumstances, and matters pertinent to whether

any class should be certified, and if so, the scope of such a class.

                                       LEGAL STANDARD

       Deciding whether and how to sequence discovery “is a matter committed to the discretion

of the trial court.” Ocean Atlantic Woodland Corp. v. DRH Cambridge Homes, Inc., 2004 WL

609326, at *2 (N.D. Ill. Mar. 23, 2004). Though the Federal Rules of Civil Procedure do not

expressly provide for bifurcated discovery in asserted class actions, the 2003 Advisory Committee

Notes to Rule 23 recognize that “it is appropriate to conduct controlled discovery . . . limited to




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those aspects relevant to making the certification decision on an informed basis.” See, e.g., Reid

v. Unilever U.S., Inc., 964 F. Supp. 2d 893, 932 (N.D. Ill. 2013) (granting motion to stage

discovery, citing Advisory Committee Notes); Christian v. Generation Mortg. Co., 2013 WL

2151681, at *4 (N.D. Ill. May 16, 2013) (granting motion to bifurcate discovery, citing Wal-Mart

Stores, Inc. v. Dukes, 564 U.S. 338 (2011)); Fullerton v. Corelle Brands, LLC, No. 1:18-cv-04152

(N.D. Ill. Oct. 17, 2019) (Minute Entry granting motion to stage class discovery).

       In the interests of fairness and efficiency, courts regularly sequence discovery to focus first

on the question of class certification, while postponing classwide discovery on the merits. As

Courts in this district have recognized, “[i]f class certification is denied, the scope of permissible

discovery may be significantly narrowed; if a class is certified, defining that class should help

determine the limits of discovery on the merits.” American Nurses’ Ass’n v. State of Illinois, 1986

WL 10382, at *3 (N.D. Ill. Sept. 12, 1986); see also Manual for Complex Litig. (Fourth) § 21.14

(“Discovery relevant only to the merits delays the certification decision and may ultimately be

unnecessary.”).    Thus, staging discovery is consistent with Rule 23’s mandate that class

certification be decided at “an early practicable time.” Fed. R. Civ. P. 23(c)(1)(A).

       Similarly, in light of Rule 26’s instruction that the scope of discovery should be

proportional to the claims and defenses at issue in the case, courts often stay or sequence discovery

pending resolution of a motion to dismiss, especially where the motion would resolve the case as

to one or more parties, or where the issue is a “threshold” one. DSM Desotech Inc. v. 3D Sys.

Corp., 2008 WL 4812440, at *2 (N.D. Ill. Oct. 28, 2008) (“Stays are often deemed appropriate

where the motion to dismiss can resolve a threshold issue such as jurisdiction, standing, or

qualified immunity or where, in cases such as this one, discovery may be especially burdensome

and costly to the parties.”); see also Robinson v. Walgreen Co., 2021 WL 2453069, at *4 (N.D. Ill.




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June 16, 2021) (ordering “focused” discovery pending ruling on motion to dismiss in asserted class

action); Tamburo v. Dworkin, 2010 WL 4867346, at *1 (N.D. Ill. Nov. 17, 2010) (“Properly used,

the proportionality tools available under the Federal Rules of Civil Procedure can go a long way

to reaching the long sought-after goal of Rule 1: securing the ‘just, speedy, and inexpensive

determination of every action and proceeding.’”); Coss v. Playtex Prods., LLC, 2009 WL 1455358,

at *4-5 (N.D. Ill. May 21, 2009) (ordering targeted discovery pending decision on motion to

dismiss).

       In deciding whether to stay or sequence discovery, courts consider (1) whether limiting

discovery will unduly prejudice the non-moving party, (2) whether limiting discovery will simplify

the issues and streamline the trial, and (3) whether limiting discovery will reduce the burden of

litigation on the parties and on the court. Sadler v. Retail Props. of Am., Inc., 2013 WL 12333447,

at *1 (N.D. Ill. Sept. 27, 2013) (staying discovery where motions to dismiss were “not frivolous

and . . . potentially dispositive”); see also Robinson, 2021 WL 2453069, at *4; Tamburo, 2010 WL

4867346, at *3 (ordering phased discovery, beginning with written discovery on the named

parties); Akselrod v. MarketPro Homebuyers LLC, 2021 WL 100666, at *2 (D. Md. Jan. 12, 2021)

(allowing limited discovery on potentially dispositive individual merits issues before proceeding

to discovery on class certification issues); Katz v. Liberty Power Corp., LLC, 2019 WL 957129, at

*2 (D. Mass. Feb. 27, 2019) (similar); Loreaux v. ACB Receivables Mgmt., Inc., 2015 WL

5032052, at *4 (D.N.J. Aug. 25, 2015) (similar). Each of these considerations counsels in favor

of a thoughtful, staged approach to discovery in this case.

                                          DISCUSSION

       Defendants do not seek a complete stay of discovery or a total bifurcation of merits and

class certification discovery, and Plaintiffs appear to agree that some merits discovery will need to




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occur after the Court’s ruling on class certification. See Dkt. 12 ¶ 7. The parties disagree, however,

on how to appropriately sequence discovery on Plaintiffs’ unwieldy and wide-ranging claims—

both pending resolution of Defendants’ motion to dismiss, and as the case moves toward the class

certification phase. 1

        Defendants will seek dismissal of Plaintiffs’ claims against WEC Energy, which does not

own or operate the gas storage field at issue, and well as their RICO claims against all three

Defendants. Resolution of the motion to dismiss thus has the potential to be dispositive of

Plaintiffs’ claims against two of the three Defendants, in addition to substantially streamlining the

remaining legal and factual issues in the case. Moreover, if Defendants prevail on their motion,

Plaintiffs’ suit will be narrowed appropriately to a handful of state law claims against Peoples

Gas—claims for which this Court may or may not opt to exercise supplemental jurisdiction, absent

any other basis for federal question or diversity jurisdiction.

        Accordingly, Defendants propose sequencing discovery to focus first on the issues at the

heart of Plaintiffs’ claims: the December 2016 incident at the gas storage facility in Mahomet,

Illinois, and Peoples Gas’s response. The named Plaintiffs’ own individual circumstances should

also be subject to discovery. And discovery should also proceed on issues pertinent to whether

Plaintiffs’ asserted classes could or should appropriately be certified and meet the requirements of

Rules 23(a) and 23(b). This will promote efficiency by streamlining the issues and reducing the

burden of conducting discovery with respect to claims and parties that are not properly before this

Court. Further, Plaintiffs will not be prejudiced because beginning with appropriately targeted

discovery—much of which has already been provided to their counsel in the Champaign County



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          Counsel for Defendants bring this Motion after consulting with counsel for Plaintiffs by
email on April 15 and 18 and by telephone on April 19, in good faith efforts to resolve the issues
raised in this Motion, but the parties were unable to reach an accord.


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lawsuits—will allow this case to proceed while the motion to dismiss is pending. See Robinson,

2021 WL 2453069, at *4; Tamburo, 2010 WL 4867346, at *3; Coss, 2009 WL 1455358, at *4-5.

       Specifically, as reflected in the parties’ Joint Initial Status Report (Dkt. 12), Defendants

propose the following discovery plan:


 May 9, 2022              Rule 26(a)(1) disclosures

                          Date to issue written discovery to Plaintiffs and Peoples Gas related to
                          the December 2016 incident, named Plaintiffs’ individual claims, and
 May 23, 2022             class certification issues

 Sept. 30, 2022           Disclosure of Plaintiffs’ class certification experts and reports

 Nov. 18, 2022            Disclosure of Defendants’ class certification experts and reports

 Dec. 16, 2022            Depositions of class certification experts

 Jan. 13, 2023            Plaintiffs’ motion for class certification

 Feb. 17, 2023            Defendants’ opposition to class certification

 Mar. 3, 2023             Plaintiffs’ reply on class certification

       Defendants further propose that within 30 days after the Court’s ruling on Plaintiff’s class

certification motion, the parties will confer to determine whether any additional merits discovery

is necessary in light of the Court’s order, and to discuss a proposed schedule for dispositive

motions, merits expert disclosures, and trial.

                                          CONCLUSION

       For the foregoing reasons, Defendants The Peoples Gas Light & Coke Co., WEC Energy

Group Inc., and The Broydrick Group, LLC, respectfully ask this Court to grant their Motion and

enter a targeted, staged discovery plan in this case.




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Dated: April 19, 2022                    /s/ Edward Casmere
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                                         Broydrick Group, LLC




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 19, 2022, I caused the foregoing document to be electronically

filed used the CM/ECF system, which will send notice of this filing to all counsel and parties of

record.


                                                /s/ Edward Casmere




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